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    STATE OF SOUTH CAROLINA,                         )
                                                     )         IN THE COURT OF COMMONlPLEAs 2mB
           .J.Ao.:~"\1bom
   COUNTY OF                                         )
                                                     )
ChQ.f'}~ e.1hom~s                                    )                      SUMMONS""
                                                                                         GENERAL COUNSEL
                                        Plaintiff,   )
                                                     )
   VS.                                               )
 5cv '}h Q.<».OhM_ Oe{hJm~.tJ0              P        )
                                                     )
 COf(ed7~)            eJ-a1          Defendant.      )
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   TO THE DEFENDANT           ABOVE-NAMED:                                                    ~~          ~        "T1~

            YOU ARE HEREBY SUMMONED and requited to answer lhe complaint bereru-;na c~r
                                                                                              '"'....-I   -        -~
                                                                                                                  o~c
                                                                                               ~~                     c:
   which is herewith served upon you! and to serve a copy of your answer to this compr~upastheOg
                                                                                                  . n                         'Z
   subscriber, at the address shown below, \•...
                                             ithin thirty (30) days after service here{lf, excfu~e            Of?the           ~
   day of such service, and if you fail to answer the complaint, judgment by default       wi)]    be~mtfred
   agajnsl you for the relief demanded in the compr~       "                \:l .
           • South Carolina                          ~         Cub ~._~~w;:>
                                                                 PI aintiAt1Of'JleYfur   Plaintiff
  Dated:

~110,f)OI1



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  SCCA 40! (5/02)
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